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 9
10                           IN THE UNITED STATES DISTRICT COURT
11                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                             *E-FILED - 1/12/06*
12
     UNITED STATES OF AMERICA,           )                No. CR 05-00641-RMW
13                                       )
                         Plaintiff,      )
14                                       )                STIPULATION AND ORDER
                 v.                      )                CONTINUING STATUS CONFERENCE
15                                       )                AND EXCLUDING TIME
     YE TENG WEN,                        )
16         aka Michael Wen, and          )
     HAO HE,                             )
17         aka Kevin He,                 )
                                         )
18                       Defendants.     )
     ____________________________________)
19
20          The United States of America, by and through Assistant U.S. Attorneys Mark L.
21   Krotoski, and Matthew A. Lamberti, and defendant Ye Teng Wen, by and through defense
22   counsel Vicki Young, and defendant Hao He, by and through defense counsel Richard Pointer,
23   hereby AGREE AND STIPULATE to continue the status conference set for January 17, 2006 at
24   9:00 a.m. to February 13, 2006 at 9:00 a.m. The parties further AGREE AND STIPULATE that
25   time should be excluded from January 17, 2006, through and including February 13, 2006, for
26   continuity of counsel and to provide counsel reasonable time to prepare, pursuant to the Speedy
27   Trial Act, 18 U.S.C. § 3161(h)(8)(A) and (B)(iv). In particular, in this copyright infringement
28   case, the discovery already provided and made available involves numerous recorded

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 1   conversations and boxes of seized materials and documents requiring extensive review. The
 2   defense counsel need additional time to listen to the recorded conversations and review other
 3   evidence. Accordingly, the United States and the defendants agree that granting the requested
 4   exclusion of time under the Speedy Trial Act will serve the interests of justice and outweigh the
 5   interests of the public and defendant in a speedy trial.
 6   DATED: January 9, 2006                         KEVIN V. RYAN
                                                    United States Attorney
 7
                                                            /S/
 8
                                                    MARK L. KROTOSKI
 9                                                  MATTHEW A. LAMBERTI
                                                    Assistant U.S. Attorney
10
                                                            /S/
11   DATED: January 4, 2006
                                                    VICKI YOUNG
12                                                  Counsel for Defendant Ye Teng Wen
13
                                                            /S/
14   DATED: January 6, 2006
                                                    RICHARD POINTER
15                                                  Counsel for Defendant Hao He
16                                          ORDER
17      In light of the parties’ agreement to exclude time, and based upon the demonstrated need for
18   excludable time set forth above, IT IS HEREBY ORDERED THAT: (1) the status conference set
19   for January 17, 2006 at 9:00 a.m. is continued to February 13, 2006 at 9:00 a.m.; and (2) the
20   period from January 17, 2006 at 9:00 a.m. through and including February 13, 2006, shall be
21   excluded from all Speedy Trial Act calculations pursuant to 18 U.S.C. § 3161(h)(8)(A) and
22   (B)(iv).
23          IT IS SO ORDERED.
24   DATED: January _12_, 2006                        /s/ Ronald M. Whyte
                                                     ______________________________________
                                                    HON. RONALD M. WHYTE
25                                                  United States District Court Judge
26
27
28



     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE AND EXCLUDING TIM E
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